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                                         No. 23-1030



                            United States Court of Appeals For
                                     the First Circuit


                                       MELISSA ING,

                                     Plaintiff – Appellant,
                                               v.
                                   TUFTS UNIVERSITY,
                                    Defendant – Appellee.


                              On Appeal from a Judgment of the
                 United States District Court for the District of Massachusetts

      __________________________________________________________________

                          BRIEF OF DEFENDANT-APPELLEE
                                TUFTS UNIVERSITY


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                                DISCLOSURE STATEMENT

            Defendant-Appellant Tufts University, by its undersigned counsel, states

      that it has no parent corporation, and that there is no publicly-held company that

      owns ten percent or more of it.




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                    DEFENDANT-APPELLEE TUFTS UNIVERSITY’S
                            STATEMENT OF ISSUES

          1. Whether Defendant-Appellee Tufts University1 (“Tufts”) discriminated

             against Plaintiff-Appellant Dr. Melissa Ing in 2018 on the basis of gender,

             where all decisionmakers agreed Dr. Ing was not qualified for promotion.

          2. Whether Tufts, through Dr. Ing’s new department chair, retaliated against Dr.

             Ing in 2019 because of the internal sexual harassment report Dr. Ing made in

             2017 against a junior colleague before that chair was even employed by Tufts

             (and after that colleague was no longer working at Tufts), where

             overwhelming evidence and contemporaneous statements showed the chair’s

             unequivocal commitment to helping Dr. Ing achieve promotion.2




      1
       The correct legal name for Tufts University is the Trustees of Tufts College.
      2
       Although Dr. Ing includes three issues in her “Statement of Issues,” the second and
      third statements are essentially the same: Whether the District Court erred by
      granting Tufts summary judgment on Dr. Ing’s claim that Tufts (through Dr. Ing’s
      new department chair) retaliated against her.
                                               1
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                   DEFENDANT-APPELLEE TUFTS UNIVERSITY’S
                          STATEMENT OF THE CASE

            The District Court’s well-reasoned decision granting Defendant-Appellee

      Tufts University (“Tufts”) summary judgment on all six counts of the complaint filed

      by Plaintiff-Appellant Dr. Melissa Ing (and its denial of Dr. Ing’s motion to alter

      that judgment) should be affirmed because the undisputed material facts demonstrate

      that neither Tufts, nor anyone acting on its behalf, discriminated against Dr. Ing

      based on her gender, nor did anyone retaliate against her for filing an internal report

      of sexual harassment.

            Dr. Ing was an associate professor at Tufts University School of Dental

      Medicine (“TUSDM”). In 2018, Dr. Ing applied for promotion to full professor.

      None of the members of the TUSDM Faculty Appointments Promotions and Tenure

      Committee (the “FAPTC”) voted to approve Dr. Ing’s application because she did

      not meet the criteria for promotion. Specifically, Dr. Ing failed to demonstrate the

      level of “superior accomplishment” in one of the three criteria required for

      promotion. The criteria she failed to meet was the “Educational Leadership” Area

      of Excellence, which she selected as part of the promotion application process. In

      2019, Dr. Ing’s newly arrived department chair, Dr. Andrea Zandona, advised Dr.

      Ing on ways to address the deficiencies in support of her application for promotion.

      Dr. Ing did not follow this advice. Consequently, in October 2019, Dr. Zandona



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       declined to endorse Dr. Ing for promotion during the 2019 promotion cycle as Dr.

       Ing had not made sufficient improvements to warrant such a quick re-application.

             Dr. Zandona stated unequivocally that she was committed to supporting Dr.

       Ing’s promotion once Dr. Ing made the suggested improvements to her promotion

       application. Instead of working to strengthen her dossier and resubmitting it in a

       later promotion cycle, Dr. Ing took leave from TUSDM in December 2019 and never

       returned to Tufts.

             After filing a charge with the Massachusetts Commission Against

       Discrimination (“MCAD”) in May 2020, Dr. Ing filed this lawsuit in January 2021

       alleging that Tufts, through the FAPTC and Dr. Zandona, retaliated against her for

       making a sexual harassment report in 2017 against a junior faculty member, and

       discriminated against her because of her gender. As the District Court found,

       however, the undisputed facts demonstrate that neither the FAPTC nor Dr. Zandona

       considered anything but Dr. Ing’s qualifications and merits when deciding on

       whether to promote her or to endorse her for promotion, respectively. Accordingly,

       the District Court’s decision should be affirmed.

       I.    Dr. Ing’s Internal Report of Sexual Harassment

                    A Junior Faculty Member Asks Dr. Ing Out on One Date

             In February 2017, Dr. Roland Vanaria, an assistant professor at TUSDM who

       during his entire tenure was in a more junior position than Dr. Ing, asked Dr. Ing out


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       on a date. Joint Appendix (“JA”) 113, 211. She told Dr. Vanaria that she was

       “flattered” but declined. JA-113, 211. In March 2017, Dr. Ing joked with her

       TUSDM division head over email that Dr. Vanaria was behind the nomination she

       recently received for an award: “I think it’s a nomination but it’s still v[ery] nice of

       whoever nominated me. Maybe it was Rollie [Vanaria]. [smiling cat emoji].” JA-

       213.

                    TUSDM’s Reasonable Investigation into Dr. Ing’s Report of
                    Sexual Harassment Finds No Sexual Harassment Occurred

              In June 2017, more than four months after Dr. Ing declined Dr. Vanaria's date

       request, Dr. Ing told her TUSDM division head that Dr. Vanaria had sexually

       harassed her. JA-116. The division head promptly reported Dr. Ing’s allegations to

       Tufts’ Office of Equal Opportunity (“OEO”), which swiftly launched an

       investigation.   JA-142, 215.     OEO assigned Alida Bogran-Acosta, a former

       employment attorney and counsel for the MCAD, to investigate Dr. Ing’s report.

       JA-140-142. Ms. Bogran-Acosta interviewed (separately) Dr. Ing, Dr. Vanaria and

       Dr. Ing’s division head. JA-143. She found that Dr. Vanaria had asked Dr. Ing on

       a date and had made certain comments to Dr. Ing over a period of years, including

       remarking that Dr. Ing’s lab coat “must have been woven by angels” and asking Dr.

       Ing if she wanted to “do some monkey business.” JA-144-145. Based on her

       investigation, Ms. Bogran-Acosta concluded that Dr. Vanaria’s conduct was not

       severe or pervasive and did not violate Tuft’s sexual harassment policy. JA-145.

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                    TUSDM Accommodates Dr. Ing’s Requests Even Though the
                    Investigation Found No Sexual Harassment

             Even though the Tufts’ OEO investigation found that Dr. Vanaria had not

       sexually harassed Dr. Ing, TUSDM addressed Dr. Ing’s requests to limit her contact

       with him. To that end, the division head adjusted the schedule in August 2017 to

       address Dr. Ing’s request that she and Dr. Vanaria not be scheduled to work together.

       JA-224. And when the schedule was adjusted during October of 2017 to account for

       Dr. Ing’s planned absence, the schedule was switched back after her return (i.e., Dr.

       Ing and Dr. Vanaria were not scheduled to work in close proximity). JA-230-231.

       As another example of TUSDM being responsive to Dr. Ing, TUSDM removed Dr.

       Vanaria’s swipe card access to a conference room located near Dr. Ing’s office in

       October 2017 at Dr. Ing’s request. JA-228. By no later than mid-October 2017, Dr.

       Vanaria was not able to enter Dr. Ing’s office area nor was he ever scheduled to work

       in close proximity to her. JA-117, 230. Dr. Ing’s testimony confirms that she last

       saw Dr. Vanaria in January or February 2018 in a TUSDM parking lot. JA-117.

       II.   Dr. Ing Applies for Promotion to Full Professor

                    The TUSDM Promotion Process and the FAPTC

             TUSDM instructors do not need to receive a certain rank or tenure in order to

       remain employed. JA-164, 246. In fact, many faculty members spend their entire

       careers at TUSDM as assistant or associate professors and never attain the rank of



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       full professor. JA-131, 164. In other words, this is not a case about tenure; TUSDM

       does not have an “up-or-out” promotion system. JA-164, 246.

             In 2017 TUSDM updated its guidelines and criteria for promotion to increase

       the requirements concerning academic rigor. JA-164, 246. The new guidelines,

       which went into effect in November 2017, describe the type of content and materials

       to be included in a faculty member’s application for promotion, known as a dossier.

       JA-246.    Under the new guidelines, the dossier of faculty members seeking

       promotion must demonstrate that they have attained the level of “superior

       accomplishment” in the published criteria for their Areas of Excellence. JA- 253.

       One of the three Areas of Excellence—Service, Citizenship, and Professionalism—

       is mandatory for all applicants. JA-254. The other two Areas of Excellence may be

       self-selected by the faculty members from four choices: (1) Teaching; (2)

       Educational Leadership; (3) Scholarship, Investigation, and Discovery; and (4)

       Clinical Instruction, Expertise, and Innovation. JA-254. By self-selecting two of

       these four Additional Areas of Excellence, the faculty members seeking promotion

       are in effect declaring that they have demonstrated the level of “superior

       accomplishment” in those two substantive areas. JA-254. In addition, under the

       guidelines, faculty members must receive their department chair’s endorsement to

       be considered before proceeding to submit their dossier to the FAPTC. JA-79. The

       FAPTC is responsible for reviewing submitted dossiers and evaluates them against


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       the published criteria for the self-selected Areas of Excellence to determine if the

       candidate has indeed shown “superior accomplishment” in those two self-selected

       areas and the mandatory third Area of Excellence. JA-186, 246.

                    Dr. Ing Applies for Promotion in 2018

             In November 2017, Dr. Ing decided to apply to become a full professor. JA-

       119. In January 2018, Dr. Ing met with her then department chair, Dr. Charles

       Rankin, and the Associate Dean for Faculty Development, Dr. Carroll Ann Trotman.

       JA-121. (Dr Trotman was also a non-voting member of the FAPTC.) JA-171. Dr.

       Trotman typically advised promotion candidates to spend a year, or, at the very least

       six months, compiling their dossiers before applying for promotion, and gave Dr.

       Ing this same advice. JA-170. Dr. Ing did not follow this advice. Instead, Dr. Ing

       submitted her dossier on February 28, 2018, less than four months after she began

       compiling it. JA-120-121. Dr. Ing self-selected “Teaching” and “Educational

       Leadership” as her Areas of Excellence for the FAPTC to review and evaluate as to

       whether she achieved and demonstrated “superior accomplishment” in those areas. 3

       JA-246.




       3
         Dr. Charles Rankin provided Dr. Ing with an endorsement letter necessary for her
       to proceed with submitting her application to the FAPTC and stepped down as Dr.
       Ing’s department chair several months later, in October 2018. JA-122, 148.
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                    Dr. Ing’s External Reviewers Express Skepticism About Her
                    Promotion Prospects

             During early 2018, Dr. Ing sought the views of professionally established

       educators external to TUSDM regarding her dossier and promotion candidacy. JA-

       120. One of these outside educators was Dr. Maria Blanco, the Associate Dean for

       Faculty Development at the Tufts University School of Medicine, to whom Dr. Ing

       emailed her CV on January 16, 2018. JA-120, 276-277. In her very first reply in

       this email exchange, Dr. Blanco expressed her doubts about Dr. Ing’s promotion

       prospects: “[M]y guess is that you might need more scholarship to go for a

       professorship.” JA-276. Dr. Blanco continued to express to Dr. Ing her concern

       about Dr. Ing’s insufficient qualifications and stated that “I think you need to expand

       your impact a bit more for a professorship.” JA-275. Further, Dr. Blanco advised

       Dr. Ing to “not rush” to apply for promotion. JA-274.

             Also, in January 2018, Dr. Ing emailed Dr. Mark Wolff, who was then a

       professor at New York University College of Dentistry and who is now Dean of the

       University of Pennsylvania School of Dental Medicine. JA-279, 282. Dr. Wolff

       replied, “Looked through your CV and it is impressive. Unfortunately, it would not

       pass the Professor process [at] NYU Dental and would be kicked back downtown.”

       JA-279. Dr. Ing again contacted Dr. Wolff with her updated CV in December 2018,

       after her promotion had been denied (which is discussed infra). JA-283. Dr. Wolff

       replied that he “could not support a promotion to Professor.” JA-282. Dr. Ing

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       replied and asked Dr. Wolff to review TUSDM’s promotion criteria. JA-281-282.

       Dr. Wolff said he would review the criteria but stated “I can not [sic] say that you

       would be promoted in either of my institutions.” JA-281 Dr. Ing persisted and asked

       Dr. Wolff to write her a letter of support, to which Dr. Wolff stated “I am sorry but

       I can not [sic] provide a letter of support.” JA-280.

                    No FAPTC Members Knew of Dr. Ing’s 2017 Report of Sexual
                    Harassment

             At all times relevant to Dr. Ing’s promotion application, the FAPTC that

       evaluated and voted on Dr. Ing’s application for promotion was comprised of seven

       voting members, including a female chair4 and one non-voting member (Dr.

       Trotman). JA-171-174. There is no evidence that any member of the FAPTC

       considered, or even knew of, Dr. Ing’s 2017 sexual harassment report against Dr.

       Vanaria.5 JA-172, 182, 187-188, 200, 247. In addition, there is no evidence that

       anyone on the FAPTC had more than a passing acquaintance with Dr. Vanaria (if

       even that), and several members did not know Dr. Vanaria at all. JA-130, 180, 194,



       4
         Dr. Carole Ann Palmer was the chair of the FAPTC until the summer of 2018, when
       Dr. Maria Papageorge took over as chair. JA-245, 194. Minutes of the FAPTC
       meetings were not kept when Dr. Palmer was chair. JA-187.
       5
         TUSDM Faculty Affairs Officer Monika Bankowski was the recorder of the
       FAPTC and knew of Dr. Ing’s report against Dr. Vanaria at the time that the FAPTC
       considered Dr. Ing’s application, but there is no evidence that Ms. Bankowski told
       anyone on the FAPTC about Dr. Ing’s report. JA-200. Ms. Bankowski testified at
       deposition that she did not inform anyone on the FAPTC of Dr. Ing’s report. JA-
       200.
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       247. All four individuals connected to the FAPTC who were deposed (Dr. Robert

       Amato, Dr. Roger Galburt, Dr. Trotman and TUSDM Faculty Affairs Officer

       Monika Bankowski) testified that Dr. Ing’s report against Dr. Vanaria was not

       discussed by FAPTC members at any time, either at official FAPTC meetings or

       otherwise. JA-172, 182, 187-188, 200. Dr. Carole Ann Palmer, the FAPTC chair at

       the time, attested to the same in her affidavit. JA-247.

             Further, the detailed, contemporaneous notes that both Dr. Amato and Dr.

       Galburt kept of their evaluations of Dr. Ing’s dossier, and Dr. Bjorn Steffensen’s

       notes for the FAPTC’s discussion of Dr. Ing, do not reflect any discussion of Dr.

       Ing’s gender or her report regarding Dr. Vanaria at the FAPTC’s meetings. JA-262-

       270, 285-290; Tufts Addendum (“Tufts Add.”) A-013-012. Rather, these documents

       make clear the FAPTC’s discussion focused solely on the merits of Dr. Ing’s dossier.

       In short, based upon all sources of testimony and documentation, the FAPTC’s

       evaluation of Dr. Ing’s candidacy for full professor did not address in any way Dr.

       Ing’s report of sexual harassment and it focused exclusively on the merits of her

       dossier and the criteria required for promotion. JA-172, 182, 187-188, 200, 247.

                    After Careful Evaluation, No FAPTC Member Votes in Favor of
                    Dr. Ing’s Promotion to Full Professor

             When the FAPTC receives a dossier, each member carefully reviews it and

       one FAPTC member leads the discussion on the applicant’s candidacy. JA-171, 186.

       Dr. Galburt was the FAPTC member assigned to lead the discussion of Dr. Ing’s

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       dossier, and he did so at the FAPTC’s March 27, 2018 meeting. JA-180. Dr. Galburt

       believed that Dr. Ing did not qualify for promotion to full professor because Dr. Ing

       had not met the published criteria for her self-selected “Educational Leadership”

       Area of Excellence. JA-180, 183. Dr. Galburt set forth his conclusion as to Dr.

       Ing’s candidacy in the contemporaneous notes he made during his review of Dr.

       Ing’s dossier in 2018. JA-285-290. Dr. Galburt confirmed his assessment in his

       deposition testimony. JA-180, 183 In particular, Dr. Galburt observed that Dr. Ing

       presented herself as a “Course Director” for a workshop that met on only two

       occasions, as opposed to a semester- or year-long course that met several times a

       week over a course of months.6 JA-181-182, 285-290. Dr. Galburt asked that

       another FAPTC member present Dr. Ing’s dossier at the next meeting to confirm his

       conclusion that Dr. Ing did not satisfy the promotion criteria. JA-180. Dr. Amato

       agreed to do so. JA-190.




       6
         Although Dr. Ing is listed as a “Course Director” on a TUSDM form for the
       “Operative Workshop - Intro to Clinical Materials,” that workshop met only twice.
       JA-292. Dr. Robert Amato, Dr. Roger Galburt, Dr. Carroll Ann Trotman and Dr.
       Ing’s division head all testified that the length, breadth and rigor of a course are what
       determines whether an individual is a course director, not whether a clerical form
       lists an individual as a course director. JA-173, 181-182, 188-189, 223. This is
       illustrated by the fact that Patricia DiAngelis, who was the clerical administrator for
       the Comprehensive Care Department at TUSDM and who is not a dentist, is listed
       as the course director on TUSDM forms for the “Geriatric Dentistry” course, which
       met eight times. JA-298
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             Upon reviewing Dr. Ing’s dossier to prepare for the April 3, 2018 FAPTC

       meeting, Dr. Amato reached the same conclusion as Dr. Galburt: Dr. Ing did not

       meet the criteria for the self-selected “Educational Leadership” Area of Excellence

       and was not a “course director.” JA-192-193, 262-270.          In addition, Dr. Amato

       found Dr. Ing was lacking in meeting the criteria for “Educational Leadership” for

       several additional reasons: she did not actively participate in any local, state-wide or

       national organizations related to education, she did not serve in a leadership position

       at TUSDM, and she did not serve as a chair or co-chair of any Tufts committees,

       among other deficiencies. JA-264. Dr. Amato’s assessment of Dr. Ing’s dossier

       identified inadequacies that were “Required Documentation for Promotion” under

       the published criteria for the “Educational Leadership” Area of Excellence,

       including “[w]ritten documentation of active participation (not just membership) in

       leadership roles, describing roles as related to educational leadership.” JA-264, 269.

       Like Dr. Galburt, Dr. Amato kept contemporaneous notes of his evaluation of Dr.

       Ing’s dossier and they reflect his conclusion that Dr. Ing failed to demonstrate

       “superior accomplishment” in “Educational Leadership.”7 JA-262-270.




       7
        Dr. Amato testified that minutes were not kept for any candidates at the FAPTC
       when Dr. Palmer was chair, which included the March 27, 2018 and April 3, 2018
       meetings. JA-187. Dr. Amato further testified that the FAPTC began to keep
       minutes when Dr. Papageorge became chair, in the summer of 2018. JA-187.
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             After careful consideration and review of Dr. Ing’s dossier under the

       published promotion criteria, not a single member of the FAPTC voted to approve

       Dr. Ing for promotion. JA-300. Five members voted to not approve, one abstained,

       and one voted to table the issue. JA-300.

                     Dr. Ing is Informed her Promotion was Denied

             Dr. Ing was informed at least four times between September 2018 and January

       2019 that her application for promotion was denied and she was informed that the

       reason for that decision was because she failed to demonstrate “superior

       accomplishment” in her self-selected “Educational Leadership” Area of Excellence

       and she was provided examples of how she did not meet that criteria (the “Reasons

       for Promotion Denial”). JA-89, 126, 302, 305-307, 311-312. The Reasons for

       Promotion are set forth in detail in a letter from TUSDM Dean Huw Thomas, dated

       January 15, 2019. JA-311-312. Dr. Ing requested that Dean Thomas provide her

       this further letter even though she had been previously informed of the Reasons for

       Promotion Denial as will be discussed infra. JA-311. Specifically, the January 15,

       2019 letter stated that:

                1.   there was a lack of leadership roles in Dr. Ing’s dossier (“i.e., chair or

                     co-chair of a committee”);

                2.   that the “FAPTC deemed there was a deficiency in [Dr. Ing’s] lack of

                     course directorship; a one-time 3-hour workshop does not compare to


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                     a 3, 6 or 9-month course with multiple faculty reporting to you, course

                     grades, etc.”;

                3.   “[m]any of the educational leadership roles described in [Dr. Ing’s]

                     dossier are solitary presentations and not a part of organizing a large

                     local or national meeting and were targeted towards a very narrow

                     audience;” and

                4.   “[t]he caliber and scope of some aspects of [Dr. Ing’s] CV and dossier

                     were felt to not accurately represent the level of expectations that

                     FAPTC Promotion Guidelines dictate for promotion to the rank of

                     Professor.” JA-311-312.

       These deficiencies with Dr. Ing’s promotion application were previously identified

       by Dr. Amato and Dr. Galburt (and recorded in their contemporaneous notes) and

       had been communicated to Dr. Ing several times over a series of months. JA-262-

       270, 285-290, 302, 305-307. Namely, on September 19, 2018, Dr. Trotman and Ms.

       Bankowski met with Dr. Ing and told her she was not going to be promoted because

       she did not meet the criteria of the “Educational Leadership” Area of Excellence

       (i.e., the Reasons for Promotion Denial). JA-126, 302. Further, on September 20,

       2018, the FAPTC’s denial letter (dated August 8, 2018) was sent to Dr. Rankin, who,

       as Dr. Ing’s department chair, was the customary recipient of such a letter. JA-305-

       307. This letter stated that the “evidence [Dr. Ing] provided for the Secondary Area


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       of Excellence, Education Leadership does not meet the level of published criteria for

       promotion to the rank of Professor” (i.e., the Reasons for Promotion Denial).8 JA-

       305. Lastly, Dean Thomas sent Dr. Ing a letter on September 20, 2018, which

       reiterated that Dr. Ing did not meet the “Educational Leadership” Area of Excellence

       (i.e., the Reasons for Promotion Denial) and offered her an opportunity to appeal the

       decision. JA-309

             Dr. Ing disagreed with her promotion denial and rejected the advice she

       received regarding how to improve and resubmit her dossier. JA-89, 165-166, 302.

       For instance, on September 23, 2019, Dr. Ing sent a lengthy “rebuttal” to Dean

       Thomas’ September 20, 2018 letter. JA-314-318. In that rebuttal, Dr. Ing insisted

       that she fulfilled the requirements for promotion and stated that: “Contrary to what

       is written in [Dean Thomas’s September 20, 2018] letter my dossier does not require

       ‘improvement.’” JA-315. Dr. Ing’s September 23, 2018 letter also claims that she

       had shown her “paperwork” to “an associate dean at Tufts Medical School who is

       very familiar with faculty development and promotions” and “an external associate

       dean at another dental school and from a dean at a second external dental school,”

       and that “[e]ach of these people felt that I had met or exceeded the requirements for

       promotion to professor.” JA-315. The evidence shows these statements are, at best,


       8
        The FAPTC’s letter went through a series of drafts over the course of the summer
       of 2018. JA-398-405. While the wording varied, every draft conveyed that Dr. Ing
       was not being promoted to full professor. JA-398-405.
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       a gross mischaracterization, or, at worst, simply false. It appears that the “associate

       dean at Tufts Medical School” was Dr. Blanco, and Dr. Wolff was one of the

       “external” deans. As detailed supra, neither Dr. Blanco nor Dr. Wolff told Dr. Ing

       that she “met or exceeded the requirements for promotion to professor,” rather both

       expressed doubts about her qualifications and candidacy.

             Dr. Ing was informed of her right to appeal the FAPTC’s decision on several

       occasions but declined to pursue an appeal. JA-133.

                    There is No Evidence that the FAPTC considered Dr. Ing’s
                    Gender or Sexual Harassment Report when it Determined She
                    Did Not Meet the Criteria for Promotion

             At deposition (after Tufts had turned over all relevant documents to Dr. Ing),

       Dr. Ing was asked whether she possessed any evidence that the FAPTC considered

       her gender or sexual harassment report in its consideration of her promotion

       application. Dr. Ing could provide no direct or indirect evidence and instead

       dissembled and offered speculation. For example:

                   Q. Do you have any evidence that Dr. Amato's decision on your
             application for promotion to full professor was based on your gender?
                   A. I don't know. Possibly.
                   Q. Well, what's the possibly?
                   A. They're the facts, okay? It's like there's gender discrimination
             everywhere in academics. We know that. It's written up everywhere. You
             know that. I mean you're in education. You're in education and you fight for
             education law -- I think that's the right way to say it -- and we know that there
             are written articles everywhere about gender bias. We just know it. It exists.

       JA-128.


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             Ultimately, in regard to all seven voting members of the FAPTC (i.e., Dr.

       Amato, Dr. Galburt, Dr. Noshir Mehta, Dr. Palmer, Dr. Maria Papageorge, Dr. David

       Paul, and Dr. Steffensen), Dr. Ing either (1) acknowledged that they did not

       discriminate against her based on her gender and did not retaliate against her for her

       sexual harassment report, or (2) was unable to articulate any evidence that they

       discriminated against her because of her gender or retaliated against her for making

       a sexual harassment report. JA-128-130.

                    Dr. Ing Refuses to Accept the Guidance of her Department Chair
                    on How to Improve her Qualifications for Promotion

             Dr. Zandona became Dr. Ing’s department chair, replacing Dr. Rankin, on

       November 1, 2018. JA-148. She first met Dr. Ing on December 13, 2018 as part of

       her effort to meet every faculty member in her department. JA-150. During this

       December 2018 meeting, unprompted, Dr. Ing told Dr. Zandona about her June 2017

       sexual harassment report. JA-132, 150. Prior to this meeting, Dr. Zandona did not

       speak with anyone regarding Dr. Ing nor did she know about Dr. Ing’s sexual

       harassment report. JA-149. Dr. Ing also told Dr. Zandona during this meeting that

       she had not been promoted. JA-150.

             On January 9, 2019, Dr. Zandona attended a meeting with Dr. Ing, Dean

       Thomas, Dr. Trotman and Ms. Bankowski regarding Dr. Ing’s promotion denial. JA-

       152. Prior to this meeting, Dr. Zandona had not reviewed Dr. Ing’s dossier as she

       had just met her a few weeks prior, had heard only positive things about Dr. Ing, and

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       had not discussed Dr. Ing’s qualifications for promotion with anyone. JA-151.

             Dr. Ing alleges in this lawsuit, for the first time (almost two years later) that

       at this January 9, 2019 meeting that Dr. Zandona told her, “I most likely am not

       going to promote you.” JA-89 Dr. Ing first made this assertion in her complaint in

       this case, filed on January 7, 2021. JA-89. There is no contemporaneous evidence

       of such a statement and Dr. Ing did not make this allegation in the charge she filed

       with the MCAD, which she signed on May 1, 2020. Tufts Add. A-0021.

             This allegation is completely undercut by Dr. Ing’s own contemporaneous

       email regarding Dr. Zandona’s statement. Mere hours after the January 9, 2019,

       meeting, Dr. Ing wrote an email to Ms. Bankowski in which she stated that “I was

       quite shocked today at the meeting where I was told to meet with a new chairperson

       and was told that she may not write a positive letter of support like Dr. Rankin

       did.” JA-392 (emphasis supplied). As the District Court found below, this emailed

       statement is at odds with Dr. Ing’s allegation, first made in this lawsuit, regarding

       what Dr. Zandona said during the meeting. What is described in the January 9, 2019

       email is consistent with the testimony of all (except Dr. Ing) who attended the

       January 9, 2019 meeting. JA-153, 166, 175-176, 209. Dr. Zandona denies telling

       Dr. Ing she was “most likely … not going to promote [her].” JA-153. Moreover,

       Ms. Bankowski, Dr. Trotman, and Dean Thomas all testified that they do not recall

       this supposed remark or anything resembling it. JA-166, 175-176, 209.


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             To evaluate and further Dr. Ing’s candidacy for promotion, Dr. Zandona met

       with Dr. Ing at least six times over the course of 2019 to discuss her dossier. JA-

       154, 159, 325, 155-156, 330. She also corresponded in writing with Dr. Ing about

       her promotion and provided her with specific examples of what she could do to

       improve her qualifications in order to meet the criteria for promotion. JA-325-326,

       328-332.

             On March 21, 2019, Dr. Zandona and Dr. Ing met to discuss the content of

       Dr. Ing’s dossier and to “identify what areas she needed to work on so that her next

       re-submission would be successful.” JA-154, 322. Shortly after that meeting, Dr.

       Ing gave Dr. Zandona a copy of her dossier. JA-322. A few weeks later in April

       2019, Dr. Zandona gave Dr. Ing specific feedback about how she could improve her

       dossier at an in-person meeting. JA-159, 322. On May 21, 2019, Dr. Zandona met

       with Dr. Ing again to “review quite a few projects and thoughts” and to discuss Dr.

       Ing’s promotion application. JA-325. The following day, Dr. Ing sent Dr. Zandona

       a long email with additional thoughts, questions and grievances regarding the denial

       of her promotion in 2018 (prior to Dr. Zandona’s becoming chair). JA-325-326. Dr.

       Zandona wrote back that same day and offered Dr. Ing specific suggestions and

       examples of how she could strengthen her dossier and her chances for promotion.

       JA-325-326. In this same email, Dr. Zandona told Dr. Ing, “My goal is to be able to

       support you!” JA-325. Dr. Zandona and Dr. Ing also met to discuss promotion in


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       July and also in August of 2019. JA-133, 155-156. On numerous occasions between

       January 2019 to October 2019, Dr. Zandona made concrete and specific suggestions

       to Dr. Ing regarding how she could improve her dossier and chances for promotion.

       See, e.g., JA-154-155, 325-326, 328-332. Dr. Ing implemented some of these

       suggestions, but she did not implement others. JA-150.

             Dr. Ing and Dr. Zandona met again on October 3, 2019 to discuss promotion.

       JA-330. The next day Dr. Ing sent Dr. Zandona another long email reiterating her

       previously expressed grievances with the FAPTC’s decision and TUSDM’s

       handling of her promotion denial back in 2018. JA-330-332. As she had done

       throughout 2019, Dr. Zandona replied to Dr. Ing’s email with specific suggestions

       regarding how Dr. Ing could achieve promotion. JA-330-332. In this October 4,

       2019 email, Dr. Zandona once again stated her unequivocal support for Dr. Ing:

             You are a very valuable member of the department … I am sure you don’t
             want an unsuccessfull [sic] submission, so let’s work to makes [sic] sure that
             your submission will be successful … I think we share the same interests and
             we have a great potential to some wonderful collaboration … [W]hen I feel
             you have [] met the criteria to be promoted I will write a supportive letter.

       JA-332.

             Later in October 2019, Dr. Zandona informed Dr. Ing that she would not

       provide the chair’s endorsement for her promotion to full professor during the

       current promotion cycle (which ended in November 2019). JA-156, 332. Dr.

       Zandona explained that “[Dr. Ing] had not completed her dossier from 2018 to 2019.


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       It did not have enough things that I felt the FAPTC would look at and merit a

       promotion. She needed to take it further to make sure that she had a strong dossier

       that would be, you know, a sure shot through the FAPTC committee. I did not want

       her to have another failed process. I really wanted her to be successful.” JA-156.

       At the time that Dr. Zandona made this decision on her endorsement, she (unlike Dr.

       Rankin, the prior chair who endorsed Dr. Ing back in 2018) was aware of the

       deficiencies with Dr. Ing’s dossier that had been identified by the FAPTC (i.e., the

       Reasons for Promotion Denial) and she had personal knowledge of Dr. Ing’s

       continued failure to address those deficiencies during the course of 2019. See JA-

       152, 330-332. In contrast, Dr. Rankin did not have that same information available

       to him at the time of his endorsement back in 2018. See JA-372.

             Dr. Zandona and Dr. Ing next met on November 13, 2019. JA-334. At this

       meeting, Dr. Ing stated her belief that Dr. Zandona would never support her for

       promotion, even though Dr. Zandona had just spent the past ten months helping Dr.

       Ing improve her promotion prospects and had reiterated continuously her support for

       Dr. Ing throughout the year. JA-157-158, 332. Despite Dr. Ing’s accusation, Dr.

       Zandona again set forth a plan to help Dr. Ing achieve promotion at this meeting.

       JA-158. Dr. Zandona followed up with a letter, dated December 9, 2019, listing

       seven ways that Dr. Ing could continue to strengthen her dossier and told Dr. Ing,

       “Because I agreed [with the FAPTC] that the area of Educational Leadership in your


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       last submission needed to be strengthened, I suggested identifying opportunities to

       participate in leadership roles that would more clearly demonstrate your excellence.”

       JA-336-337. In addition, Dr. Zandona stated in this letter that:

             While it is true that I was not prepared to support your submission for
             promotion in November 2019 because l did not feel you had demonstrated a
             significant development compared to your last submission in the area of
             Education Leadership, this does not mean that I am against your promotion or
             that I will not work with you towards a successful submission - as described
             above, I remain committed to doing so.

       JA-336-337 (emphasis supplied). This explanation is consistent with the Reasons

       for Promotion Denial.

             At her deposition, Dr. Ing admitted that she had no evidence that Dr. Zandona

       ever met Dr. Vanaria and could articulate no evidence to support her claim that Dr.

       Zandona retaliated against her for her filing a sexual harassment report against Dr.

       Vanaria or because Dr. Ing was “opposed to sexual harassment.” JA-132-134.

                    Dr. Ing Voluntarily Leaves TUSDM and Does Not Return

             In December 2019, Dr. Ing went on voluntary leave and never returned to

       teach at TUSDM. JA-136. She never re-submitted her application for promotion.

       Dr. Ing filed the instant lawsuit in January 2021. JA-11.

                                  STANDARD OF REVIEW

             A grant of summary judgment is reviewed de novo. Theidon v. Harvard

       Univ., 948 F.3d 477, 494 (1st Cir. 2020). A movant is entitled to summary judgment

       if the record, when construed in the light most favorable to the non-movant, shows

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       “no genuine dispute as to any material fact and the moving party is entitled to

       judgment as a matter of law.” Id. (quoting Johnson v. Univ. of P.R., 714 F.3d 48, 52

       (1st Cir. 2013)). “When a plaintiff opposes summary judgment, she bears ‘the

       burden of producing specific facts sufficient to deflect the swing of the summary

       judgment scythe.’” Theidon, 948 F.3d at 494 (quoting Mulvihill v. Top-Flite Golf

       Co., 335 F.3d 15, 19 (1st Cir. 2003)). Accordingly, a plaintiff may not rely on

       “conclusory allegations, improbable inferences, acrimonious invective, or rank

       speculation.” Theidon, 948 F.3d at 494 (quoting Ahern v. Shinseki, 629 F.3d 49, 54

       (1st Cir. 2010)).

             Motions to alter a judgment under Rule 59(e), however, are reviewed for

       abuse of discretion. Franchina v. City of Providence, 881 F.3d 32, 56 (1st Cir.

       2018). “In doing so, we keep in mind that ‘[s]uch a motion must either establish a

       clear error of law or point to newly discovered evidence of sufficient consequence

       to make a difference.’ ” Id. (quoting Guadalupe-Báez v. Pesquera, 819 F.3d 509,

       518 (1st Cir. 2016) (alteration in original)).

             When passing on personnel decisions of universities regarding their faculty,

       “[c]ourts have wisely recognized the importance of allowing universities to run their

       own affairs (and to make their own mistakes). To do otherwise threatens the diversity

       of thought, speech, teaching and research both within and among universities upon

       which free academic life depends.” Vargas–Figueroa v. Saldaña, 826 F.2d 160,


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       162–63 (1st Cir. 1987). Indeed, universities are owed a “high degree of deference”

       regarding their faculty promotion decisions. See Fields v. Clark Univ., 966 F.2d 49,

       54 (1st Cir. 1992).

                              SUMMARY OF THE ARGUMENT

             The District Court granted Tufts summary judgment on all six counts of Dr.

       Ing’s complaint: Counts I, III, and V for gender discrimination under M.G.L. c.

       151B, § 4 (“Chapter 151B”), 42 U.S.C. §2000e (“Title VII”), and 20 U.S.C. § 1681

       (“Title IX”), respectively; and Counts II, IV and VI for retaliation under Chapter

       151B, Title VII, and Title IX, respectively.

             On appeal, Dr. Ing does not argue either that Dr. Zandona discriminated

       against her on the basis of gender or that the FAPTC retaliated against her.

       Accordingly, she has abandoned these arguments for the purposes of this appeal.

       See Brown v. Tr. of Brown Univ., 891 F.2d 337, 352 (1st Cir. 1989) (holding issues

       not argued in brief are abandoned).

             The District Court’s decision on the discrimination claims should be affirmed

       because there is no genuine dispute of material fact that (1) there is no evidence of

       gender discrimination; (2) Dr. Ing was not qualified for promotion to full professor;

       and (3) Tufts’ reasons for denying Dr. Ing’s promotion was not pretextual. Likewise,

       the District Court’s decision on the retaliation claims should be affirmed because (1)

       there is no causal connection between Dr. Ing’s sexual harassment report and any


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       adverse action attributable to Tufts; and (2) the Reasons for the Promotion Denial

       were not pretext for retaliation.

             In addition, the District Court’s order denying Dr. Ing’s motion to alter the

       judgment should be affirmed as Dr. Ing has failed to identify an error of law or any

       newly discovered evidence at all, let alone such an error or piece of evidence that

       meets the “extraordinary” standard required for alteration of a judgment.

                                           ARGUMENT

       I.    The Grant of Summary Judgment Should be Affirmed

                    Dr. Ing’s Claims for Discrimination Fail Because She has Shown
                    No Connection Between Her Gender and Her Promotion Denial;
                    She was Not Qualified for the Promotion She Sought; and She
                    Cannot Show Pretext

             When there is no direct evidence of discrimination, claims under Chapter

       151B, Title VII and Title IX are analyzed using the McDonnell-Douglas burden-

       shifting framework. See Theidon, 948 F.3d at 495 (applying the McDonnell-

       Douglas framework to gender discrimination claims under Chapter 151B, Title VII

       and Title IX). Under the McDonnell-Douglas framework, a plaintiff must first

       establish a prima facie case of discrimination. Dr. Ing can make a prima facie case

       only by “showing: (1) she is a member of a protected class; (2) she was a candidate

       for [promotion to full professor] and was qualified under [TUSDM’s] standards,

       practices or customs; (3) despite her qualifications she was rejected; and (4) [full

       professor] positions [TUSDM] were open at the time [she] was denied [promotion],”

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       which were filled by others possessing similar qualifications. Theidon, 948 F.3d at

       495 (quoting Fields, 966 F.2d at 53) (internal quotation marks omitted); see Gu v.

       Bos. Police Dep't, 312 F.3d 6, 11 (1st Cir. 2002).

             If Dr. Ing is able to make out a prima facie case, “the burden of production --

       but not the burden of persuasion -- shifts to [Tufts, which] must articulate a

       legitimate, non-discriminatory reason” for denying Dr. Ing’s promotion. Theidon,

       948 F.3d at 495 (quoting Johnson, 714 F.3d at 53-54). Next, once the employer

       articulates this reason, the burden moves back to the plaintiff to prove that “the

       employer’s articulated reason for the job action is pretextual and . . . the true reason

       is unlawful discrimination.” Id. (emphasis added and citation omitted). Lastly, “to

       avoid summary judgment, [Dr. Ing] must “show by a preponderance of the evidence

       that [Tufts’] proffered reason is pretextual and that the actual reason for the adverse

       employment action is discriminatory.”9 Theidon, 948 F.3d at 496 (emphasis added).

       At every step of this analysis, Dr. Ing “bears the ultimate burden of persuading the

       trier of fact that [Tufts] intentionally discriminated against [her].” See Gu, 312 F.3d

       at 11 (citation omitted).




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        Under Chapter 151B, Dr. Ing only needs to show pretext; she does not also need to
       show discriminatory animus. See Bulwer v. Mount Auburn Hosp., 46 N.E.3d 24, 33
       (Mass. 2016). As discussed infra, Dr. Ing cannot make either showing.
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                    1.     Dr. Ing’s Gender Discrimination Claims Fail Because There is
                           No Evidence Connecting Her Gender to Any Adverse Action

             As an initial matter, Dr. Ing, as the plaintiff, needs to do more than allege she

       is a member of a protected class and was the subject of an adverse action in order

       to state a claim for discrimination. See Smith v. F.W. Morse & Co., 76 F.3d 413,

       422 (1st Cir. 1996). Indeed, “absent a causal nexus between the employer's action

       and the protected trait, there is no discrimination claim.” Carroll v. Joint Apprentice

       & Training Tr. Fund, No. CIV.A. 07-CV-10416-R, 2009 WL 57541, at *4 (D. Mass.

       Jan. 8, 2009). Here, Dr. Ing offers absolutely no nexus or connection between the

       FAPTC’s denial of her promotion and her gender. At no point has any evidence

       (direct or circumstantial) been presented that there was a connection between any

       adverse action affecting Dr. Ing and her gender, and Dr. Ing points to none in her

       brief. For this simple reason alone, the District Court’s grant of summary judgment

       should be affirmed.

                    2.     Dr. Ing Cannot Establish a Prima Facie Case Because She
                           Cannot Not Show that She Attained “Superior Accomplishment”
                           in the “Educational Leadership” Area of Excellence

             In order to make a prima facie showing that she was qualified for promotion

       to full professor, Dr. Ing must show that she was so qualified by a preponderance of

       the evidence. See Fields, 966 F.2d at 53-54. Dr. Ing cannot make this showing.



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             In arguing that she was qualified for promotion, Dr. Ing points to Ray v. Ropes

       & Gray LLP, 961 F. Supp. 2d 344, 354 (D. Mass. 2013) (Stearns, J.), aff'd, 799 F.3d

       99 (1st Cir. 2015). In that case, the District Court, relying on this Court’s decision

       in Fields, 966 F.2d at 53, found that the plaintiff, an associate at a law firm, had

       made a prima facie showing that he was qualified for promotion to partner because

       he “was sufficiently qualified to be among those persons for whom a selection, to

       some extent discretionary, would be made.” Ray, 961 F. Supp 2d at 354. Where,

       however, there is clear evidence that a plaintiff has not met the clearly defined

       criteria for promotion, see Theidon v. Harvard Univ., No. 15-CV-10809-LTS, 2018

       WL 11026340, at *17 (D. Mass. Feb. 28, 2018), aff'd, 948 F.3d 477 (1st Cir. 2020)

       (plaintiff did not make prima facie showing that she was qualified for promotion

       where she failed to meet criteria for academic publications), or where there is

       consensus regarding a plaintiff’s lack of qualification, Fields, 966, F.2d at 53-54

       (affirming finding that professor was not qualified in part because there was clear

       consensus against her receiving tenure), a court may find that a plaintiff has not made

       a prima facie showing of qualification.        Further, higher education promotion

       decisions are due a “high degree of deference.” Id. at 54.

             Here, Dr. Ing cannot make a prima facie showing that she was qualified for

       promotion to full professor because she failed to meet the criteria for her self-




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       selected “Educational Leadership” Area of Excellence as determined by the

       FAPTC’s resounding vote to disapprove her promotion.

             There is no genuine dispute that Dr. Ing failed to meet the criteria for the

       “Educational Leadership” Area of Excellence. Dr. Ing’s deficiencies in this area

       were documented contemporaneously in both Dr. Amato’s and Dr. Galburt’s notes

       regarding their respective evaluations of her dossier (and in Dr. Steffensen’s notes

       of the FAPTC’s discussions regarding Dr. Ing). Specifically, Dr. Amato and Dr.

       Galburt variously noted that Dr. Ing was not a “course director,” she was not active

       in any local, state-wide or national organizations related to education, and she held

       no leadership positions at TUSDM, among other deficiencies. In addition, no

       member of the FAPTC voted to approve her application for promotion, with five of

       the seven members voting to “disapprove” (with one abstaining and one voting to

       table Dr. Ing’s application). Further, several people (including a professor of

       dentistry at another acclaimed school) told Dr. Ing that her dossier did not warrant

       promotion when she sought their opinions of her prospects. Specifically, Dr. Wolff

       and Dr. Blanco, neither of whom were part of TUSDM nor had any reasons to be

       anything but candid with Dr. Ing about her dossier, said that her candidacy was

       lacking. Dr. Wolff told Dr. Ing that she would not be promoted at NYU’s dental

       school. Accordingly, Dr. Ing was simply not “among those persons” who was

       sufficiently qualified for promotion. The generalized opinions of Dr. Rankin,


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       provided earlier on in 2018, and Dr. Ing’s division head that Dr. Ing should be

       promoted do not amount to a genuine dispute of fact where the evidence shows that

       Dr. Ing had failed to meet the published criteria for promotion and there was a clear

       consensus among the promotion decision makers that Dr. Ing was not qualified.

       When Dr. Rankin and Dr. Ing’s division head provided their opinions, they (unlike

       Dr. Zandona) did not have before them for their review or consideration the

       deficiencies with Dr. Ing’s dossier that had been identified by the FAPTC (i.e., the

       Reasons for Promotion Denial) or Dr. Zandona’s personal knowledge of Dr. Ing’s

       continued failure to address those deficiencies during the course of 2019. See Fields,

       966, F.2d at 53-54.10

             In sum, Dr. Ing cannot establish a prima facie case of discrimination because,

       as the District Court cogently explained, “[n]o reasonable factfinder could, on the

       evidence produced, conclude that Dr. Ing was qualified for promotion.” JA-496.

                    3.     Dr. Ing Cannot Show that the Reasons for Promotion Denial
                           were Pretextual



       10
         It is also important to note that there were no other persons similarly situated to Dr.
       Ing when she applied for promotion to full professor and thus she cannot show that
       she was treated differently than others. Specifically, during the 2017-2018 and 2018-
       2019 promotion cycles, no candidate for full professor selected the same two Areas
       of Excellence as Dr. Ing (“Teaching” and “Educational Leadership”). Cf. Theidon
       v. Harvard Univ., 948 F.3d 477, 500 (1st Cir. 2020) (“Although comparison cases
       need not be perfect replicas, ... they must closely resemble one another in respect to
       relevant facts and circumstances.” (alterations in original; interior quotation marks
       omitted)).
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             Assuming arguendo that Dr. Ing could establish a prima facie case of

       discrimination, Tufts has articulated a legitimate, non-discriminatory reason for the

       promotion denial. That is, Dr. Ing was not qualified for promotion. Accordingly,

       the burden shifts back to Dr. Ing to show that this reason is pretext for discrimination,

       Theidon, 948 F.3d at 496, which she cannot do. Importantly, the standard that Dr.

       Ing must meet to show that Tuft’s explanation that she was not qualified for

       promotion is pretext, is significantly higher than what needs to be shown to make a

       prima facie showing that she was qualified for promotion. See Ray, 961 F. Supp 2d

       at 354 (finding plaintiff made prima facie showing of qualification for promotion

       but nevertheless granting defendant’s motion for summary judgment where

       defendant claimed non-discriminatory reason for lack of promotion was that plaintiff

       was not qualified and plaintiff could not show this reason was pretext). Dr. Ing

       cannot show pretext because (1) there is no evidence that TUSDM’s explanation of

       Dr. Ing’s promotion denial was false or covering up discriminatory motivations; (2)

       any alleged irregularities with the TUSDM process do not amount to pretext as a

       matter of law; and (3) TUSDM’s explanation for why Dr. Ing was denied promotion

       has remained consistent.

                           a.     There is No Evidence of Pretext

             Dr. Ing “cannot meet [her] burden of proving ‘pretext’ simply by refuting or

       questioning the defendants' articulated reason.” Jackson v. Harvard Univ., 721 F.


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       Supp. 1397, 1402 (D. Mass. 1989). Instead, she must “must elucidate specific facts

       which would enable a jury to find that the reason given is not only a sham, but a

       sham intended to cover up the employer’s real and unlawful motive of

       discrimination.” See Ray v. Ropes & Gray LLP, 799 F.3d 99, 113 (1st Cir. 2015);

       see also Verdrager v. Mintz, Levin, Cohn, Ferris, Glovsky & Popeo, P.C., 50 N.E.3d

       778, 794 (Mass. 2016) (holding at summary judgment stage that plaintiff needs to

       produce evidence that defendant-employer’s “facially proper reasons given for its

       action against him [or her] were not the real reasons for that action”). “[M]ere

       questions regarding the employer's business judgment are insufficient to raise a

       triable issue as to pretext.” Pearson v. Massachusetts Bay Transp. Auth., 723 F.3d

       36, 41 (1st Cir. 2013) (alteration in original).

             Dr. Ing has failed to produce any evidence of pretext. Rather, the evidence

       shows that the FAPTC’s decision to not promote Dr. Ing in 2018 and Dr. Zandona’s

       decision not to endorse Dr. Ing for promotion in 2019 were the direct result of

       legitimate academic concerns that Dr. Ing was not yet qualified to be a full professor.

       These legitimate, non-discriminatory reasons (i.e., the Reasons for Promotion

       Denial) were consistently communicated to Dr. Ing and were contemporaneously

       documented by multiple individuals. Indeed, the notes of three FAPTC members

       that are part of the record in this action (Dr. Amato, Dr. Galburt and Dr. Steffensen)

       all show that there were serious concerns that Dr. Ing did not meet the criteria for


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       promotion because she did not display “superior accomplishment” in the

       “Educational Leadership” Area of Excellence. Further, Dr. Zandona’s numerous

       emails to Dr. Ing throughout 2019 show that Dr. Zandona had concerns regarding

       Dr. Ing’s qualifications for promotion and that Dr. Zandona tried to help her address

       those concerns.

             There is no evidence that the FAPTC took Dr. Ing’s gender into account when

       it made its decision.    Indeed, Dr. Amato, Dr. Galburt, Dr. Trotman and Ms.

       Bankowski all testified that the FAPTC’s meetings regarding Dr. Ing all focused

       solely on the merits of her qualifications (Dr. Palmer attested to the same).11 When

       asked what evidence she had that the FAPTC discriminated or retaliated against her,

       Dr. Ing could articulate nothing but speculation and generalities about gender

       discrimination in the field of education, all clearly insufficient to meet her burden.

                           b.    Any Alleged Irregularities with the FAPTC’s Process Do
                                 Not Amount to Pretext

             Dr. Ing attempts to point to several alleged irregularities with the FAPTC’s

       process as a way to contrive pretext. Her efforts are futile. Specifically, Dr. Ing

       offers the following as alleged procedural improprieties: (1) minutes were not taken


       11
         Although as explained supra, Dr. Ing has abandoned her argument that Dr.
       Zandona discriminated against her, it should be noted that Dr. Ing can point to no
       evidence that Dr. Zandona, a woman, considered Dr. Ing’s gender when deciding
       not to endorse her. Instead, the evidence shows that Dr. Zandona repeatedly tried to
       help Dr. Ing fortify her promotion candidacy and offered support and guidance on
       how to do so.
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       of the FAPTC meeting during which Dr. Ing’s promotion was discussed; (2) Dr.

       Amato allegedly performed a second review of Dr. Ing’s dossier after the FAPTC

       had already voted to deny Dr. Ing’s promotion; (3) there were several drafts of the

       letter informing Dr. Ing of her promotion denial; and (4) there was a delay between

       the FAPTC’s vote denying Dr. Ing’s promotion and Dr. Ing being informed of the

       decision. These are insignificant administrative or clerical aspects of the FAPTC’s

       process, none of which go the substance of the FAPTC’s decision to deny Dr. Ing’s

       promotion. As set forth below, and as the District Court found, these four assertions

       do not constitute pretext on a factual basis and as a matter of law.

                1.   The evidence shows that minutes for FAPTC meetings were not kept

                     or maintained while Dr. Palmer was chair of that committee (i.e., from

                     at least January 2018 through July 2018) as to Dr. Ing or any other

                     promotion candidate during that period. This was informed both by

                     searches and reviews of Tufts’ records and discussion with relevant

                     record-keepers. Dr. Ing has made no showing regarding how the

                     presence or absence of minutes affected the FAPTC’s evaluation of her

                     candidacy, and she repeatedly ignores that records of the consideration

                     of her candidacy exists in the form of notes from Dr. Amato, Dr.

                     Galburt and Dr. Steffensen, which uniformly show that the discussion

                     focused solely on her merits (or lack thereof) and not on her gender or


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                     sexual harassment report.12 Dr. Ing also ignores the fact that she

                     deposed four of the eight people present during the FAPTC’s discussion

                     of her candidacy, and all four of them testified clearly that the

                     discussion focused solely on Dr. Ing’s academic credentials and not on

                     any impermissible factors.

                2.   Dr. Ing’s assertion that “[t]here has been no explanation of why Dr.

                     Trotman required Dr. Amato to review Dr. Ing's dossier a third time

                     (his second time) even after a vote on her application had already been

                     taken” is of no significance. Dr. Ing admits that this alleged additional

                     evaluation occurred after the FAPTC’s vote to deny her promotion. Dr.

                     Ing offers no evidence as to how an additional review of her dossier

                     that occurred after the FAPTC already had voted to deny her promotion

                     somehow could be an irregularity that would constitute pretext.

                3.   The fact that there were several drafts of the letter informing Dr. Ing

                     that her promotion was denied and that Dean Thomas was involved in

                     the drafting of the final letter is not sufficient to show pretext. Dr. Ing

                     does not dispute that that outcome expressed in each draft of the letters


       12
         As the District Court made clear when granting Tufts’ motion for summary
       judgment, there is not a sufficient basis to find that Tufts spoiled the alleged FAPTC
       meeting minutes because even if they did exist Dr. Ing “has failed to show that Tufts
       destroyed or failed to preserve them with knowledge of their relevance to her
       prospective claims.” JA-498.
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                     was the same: her promotion was denied. In addition, these letters were

                     drafted (and Dean Thomas became involved in the drafting) several

                     months after the FAPTC had decided to deny Dr. Ing’s promotion, and

                     thus had no impact on the ultimate decision on her promotion.

                4.   The few months period between when the FAPTC voted against Dr.

                     Ing’s promotion and when she was informed of the denial is also of no

                     significance. The fact remains that notification of denial occurred after

                     the FAPTC’s decision denying her promotion was finalized.

             Dr. Ing’s alleged four irregularities do not constitute pretext as a matter of

       law. This Court’s recent decision in Theidon v. Harvard University is instructive on

       the standard that needs to be met for alleged irregularities to constitute pretext and

       illustrates how Dr. Ing has failed to meet that burden. In Theidon, an anthropology

       professor was denied tenure and argued that procedural irregularities in the

       university’s review process showed pretext. Theidon, 948 F.35 at 497-504. There,

       the plaintiff pointed to the following supposed irregularities in the review of her

       tenure application: the university sent out an incomplete sample of her publications

       to external reviewers; a draft (as opposed to a final) statement of her application was

       sent to a committee reviewing the case; the university “improperly inserted her

       complaints about sex discrimination into the tenure review process;” and the

       university held her to a different, and higher, publication standard than other


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       candidates. Id. On appeal, the First Circuit dismissed the argument that these

       irregularities amounted to pretext and affirmed the district court’s grant of summary

       judgment. See id. at 498 (holding in regard to the alleged publication sample

       irregularity that “there is no indication that this perceived procedural irregularity was

       relevant to or had any bearing on [the university’s] evaluation of [the plaintiff’s]

       tenure prospects.”).

             Here, the alleged irregularities that Dr. Ing offers are far less potentially

       significant than those identified by the plaintiff in Theidon. Whereas some of the

       irregularities alleged in Theidon went to the substantive evaluation of the plaintiff’s

       application (e.g., the incomplete publication sample and the alleged higher standard),

       here the supposed irregularities merely go to the administrative/clerical processes of

       the FAPTC and are completely removed from the FAPTC’s substantive evaluation

       of Dr. Ing’s dossier. Indeed, here the undisputed facts show that none of these

       supposed irregularities were or could be relevant or have a bearing on the FAPTC’s

       denial of Dr. Ing’s promotion.

                           c.     The Stated Reasons for the Denial of Dr. Ing’s Promotion
                                  have Remained Consistent

             The Reasons for Promotion Denial remained consistent at all times: Dr. Ing

       was not qualified for the promotion she sought. This consistency further undercuts

       any argument that the basis for Tufts’ decision not to promote Dr. Ing was pretextual.

       See Velez v. Thermo King de Puerto Rico, Inc., 585 F.3d 441, 449 (1st Cir. 2009
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       (“[t]he fact that the employer gave different reasons at different times for its action

       surely supports a finding that the reason it ultimately settled on was fabricated.”).

             Each time Dr. Ing was told why she was not promoted, the reason remained

       the same: She failed to meet the criteria for the “Educational Leadership” Area of

       Excellence. This was consistently communicated to Dr. Ing multiple times: by Dr.

       Palmer in her August 8, 2018 letter to Dr. Rankin; by Dr. Trotman in her September

       19, 2018 meeting with Dr. Ing; by Dean Thomas in his September 20, 2018 letter to

       Dr. Ing; by Dean Thomas in his January 15, 2019 letter to Dr. Ing; by Dr. Zandona

       in her meetings with Dr. Ing in the fall of 2019; and by Dr. Zandona in her December

       9, 2019 letter to Dr. Ing. This consistency demonstrates that the decision not to

       promote Dr. Ing was not pretextual

             This Court should affirm the grant of summary judgment in Tufts’ favor on

       Dr. Ing’s discrimination claims. For, “unless the evidence is sufficient to support a

       finding that a decisionmaker's doubts about the ‘scholarly merits of [a] [tenure]

       candidate's academic work ... are influenced by forbidden considerations such as sex

       or race, universities are free to establish departmental priorities, to set their own

       required levels of academic potential and achievements and to act upon the good

       faith judgments of their departmental faculties or reviewing authorities.’” Theidon,

       948 F.3d at 503 (quoting Villanueva, 930 F.2d at 131 (alterations in original)); see

       Jackson, 721 F. Supp. at 1404 (“[T]he elasticity of promotion standards for teachers


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       in an academic setting does not constitute, in and of itself, evidence of

       discrimination.”).

             Dr. Ing cannot show that she was qualified for promotion to full professor or

       that the reasons for the denial of her promotion were pretextual. Accordingly, the

       grant of summary judgment on Counts I, III and V should be affirmed.13

                    Dr. Ing’s Retaliation Claims Fail Because There is No Causal
                    Connection Between her Sexual Harassment Report and the
                    Decisions to Deny her Promotion

             When there is no direct evidence of retaliation, a plaintiff’s claim is analyzed

       under the McDonnell-Douglas framework. See Ray, 799 F.3d at 107; Frazier v.

       Fairhaven Sch. Comm., 276 F.3d 52, 67 (1st Cir. 2002) (“[T]he jurisprudence of

       Title VII supplies an applicable legal framework [for Title IX claims].”). To make

       her prima facie case of retaliation “a plaintiff must show that (i) she undertook

       protected conduct, (ii) she suffered an adverse employment action, and (iii) the two

       were causally linked.” Pearson v. Mass. Bay Transp. Auth., 723 F.3d 36, 42 (1st Cir.

       2013) (analyzing retaliation claims under Title VII and Chapter 151B together); see

       Theidon, 948 F.3d at 505 (using the same standard for Title IX retaliation claims);



       13
          Dr. Ing also has not shown any evidence of discriminatory animus, which is
       required for her claims under Title VII and Title IX claims. See Ray v. Ropes &
       Gray LLP, 799 F.3d 99, 113 n.8 (1st Cir. 2015). There is no evidence whatsoever
       that any member of the FAPTC or Dr. Zandona (or anyone at Tufts) had a
       discriminatory animus toward Dr. Ing, and for this additional reason, the decision
       below should be affirmed.
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       see also Mole v. Univ. of Mass., 814 N.E.2d 329, 339 (Mass. 2004). Here, Dr. Ing’s

       prima facie case fails on the third element: there is no causal connection between

       her reports of sexual harassment and the refusal to endorse her for promotion.14 In

       addition, Dr. Ing cannot show that the reasons why she was not promoted were

       pretextual.

             In her appellate brief, Dr. Ing does not claim error with the District Court’s

       finding that there was “unrefuted evidence that no member of the FAPTC knew of

       Dr. Ing’s 2017 sexual harassment complaint” and thus the denial of her promotion

       was not retaliatory. JA-500. Accordingly, Dr. Ing has abandoned this argument.15

       See Brown, 891 F.2d at 352.




       14
          For Chapter 151B and Title VII retaliation claims, plaintiffs must show a “‘but
       for’ causal connection between the protected activity and the tenure [promotion]
       denial.” See Univ. of Tex. Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2533 (2013);
       (holding “but-for” causation required for Title VII retaliation claims); Miceli v.
       JetBlue Airways Corp., 914 F.3d 73, 85 (1st Cir. 2019) (applying “but for” standard
       to Chapter 151B retaliation claim). The causation standard for retaliation claims
       under Title IX is unsettled but the First Circuit has applied a “substantial or
       motivating” factor standard previously. See Theidon, 948 F.3d at 506; see also
       Frazier v. Fairhaven Sch. Comm., 276 F.3d 52, 67 (1st Cir. 2002). Regardless of
       the standard, Dr. Ing’s retaliation claims fail.
       15
          Even if Dr. Ing had not abandoned this argument, the evidence in the record shows
       that no FAPTC member knew of the Dr. Ing’s sexual harassment report at the time
       the FAPTC voted to deny her promotion. To show causation, “the employee must
       show that the retaliator knew about her protected activity—after all, one cannot have
       been motivated to retaliate by something he was unaware of.” Medina-Rivera v.
       MVM, Inc., 713 F.3d 132, 139 (1st Cir. 2013)
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             Dr. Ing thus stakes her appeal on the retaliation claims solely on her assertion

       that Dr. Zandona declined to endorse her for promotion because Dr. Ing made a

       report of sexual harassment nearly two years prior against a man Dr. Zandona had

       never met and/or because Dr. Ing indicated to Dr. Zandona that she was “opposed to

       sexual harassment.” This argument has no basis in fact or law and Dr. Ing’s belated

       attempt to manufacture a dispute of fact is not credible and should be rejected here,

       as it was by the District Court.

                    1.     There is No Connection Between Dr. Ing’s Sexual Harassment
                           Report and Dr. Zandona’s Decision to Not Endorse her for
                           Promotion

                           a.     Dr. Ing’s Contemporaneous Email Contradicts the
                                  Allegation Upon Which her Retaliation Claims Are Based

             The entirety of Dr. Ing’s unabandoned retaliation claim hinges on the

       allegation (made for the first time in her January 7, 2021 complaint) that Dr. Zandona

       told her at the January 9, 2019 meeting that “I am most likely not going to promote

       you.” This allegation is completely undercut by Dr. Ing’s contemporaneous email

       sent a few hours after the January 9, 2019 meeting, which states: “I was quite

       shocked today at the meeting where I was told to meet with a new chairperson and

       was told that she may not write a positive letter of support like Dr. Rankin did.” JA-

       392. (emphasis supplied). Such a statement is reasonable and logical in that Dr.

       Zandona knew nothing regarding Dr. Ing’s credentials at the time of the January 9,

       2019 meeting and would want an opportunity to evaluate Dr. Ing’s application for

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       promotion independently, particularly in light of the fact that the FAPTC had just

       rejected Dr. Ing’s promotion for specific reasons. Further, Dr. Ing’s MCAD charge,

       which was signed in May 2020, does not assert that Dr. Zandona told her “I am most

       likely not going to promote you” (or anything similar). See Tufts Add. A-016-021

       As the District Court carefully found (twice in fact, once in its summary judgment

       opinion and again in its order denying Dr. Ing’s motion to amend or alter the

       judgment), there is no genuine dispute of fact regarding this recent, illogical, and

       contemporaneously contradicted allegation. Dr. Ing should not be permitted to

       manufacture a genuine dispute of fact by contradicting her own previous statement.

       Cf. Morales v. A.C. Orssleff's EFTF, 246 F.3d 32, 35 (1st Cir. 2001) (“We have

       refused to allow issues of fact to be created simply by submitting a subsequent

       contradictory affidavit.”).

             Accordingly, the District Court’s finding that Tufts did not retaliate against

       Dr. Ing should be affirmed.

                           b.        The Undisputed Facts Show that Dr. Zandona Worked
                                     Diligently with Dr. Ing to Help her Improve her Promotion
                                     Prospects

             The undisputed facts regarding the entirety of Dr. Zandona’s relevant

       interactions with Dr. Ing at TUSDM are as follows:

                  December 13, 2018: Dr. Zandona, who joined TUSDM on November

                    1, 2018, meets with Dr. Ing as part of her effort to meet all of the faculty

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                  in her department. At this meeting, Dr. Ing—unprompted—told Dr.

                  Zandona about her sexual harassment report regarding a former faculty

                  member who Dr. Zandona did not know and never met.

                 January 9, 2019: Dr. Zandona is present at the meeting between Dr.

                  Ing, Dean Thomas, Dr. Trotman and Ms. Bankowski regarding the

                  FAPTC’s denial of Dr. Ing’s promotion in the spring of 2018. At this

                  time, Dr. Zandona had not reviewed Dr. Ing’s dossier, CV or

                  credentials.

                 January 9, 2019:       Following the meeting, Dr. Ing emails Ms.

                  Bankowski: “I was quite shocked today at the meeting where I was told

                  to meet with a new chairperson and was told that she may not write a

                  positive letter of support like Dr. Rankin did.”

                 March 21, 2019: Dr. Zandona and Dr. Ing meet to discuss Dr. Ing’s

                  dossier in order to identify areas for Dr. Ing to improve upon.

                 April 2019: Dr. Zandona and Dr. Ing meet and Dr. Zandona again

                  offers feedback regarding how Dr. Ing can improve her dossier.

                 May 21, 2019: Dr. Zandona and Dr. Ing meet to again work on Dr.

                  Ing’s dossier.

                 May 22, 2019: Dr. Zandona and Dr. Ing exchange lengthy emails

                  wherein Dr. Zandona offers Dr. Ing specific ways that Dr. Ing can

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                   improve her promotion prospects and offers her numerous statements

                   of support.

                 July 2019: Dr. Zandona and Dr. Ing meet to discuss Dr. Ing’s

                   promotion candidacy and how to strengthen it.

                 August 2019: Dr. Zandona and Dr. Ing once again meet to discuss Dr.

                   Ing’s promotion candidacy and ways to improve her chances of success.

                 October 3, 2019: Dr. Zandona and Dr. Ing meet to discuss the progress

                   of Dr. Ing’s promotion candidacy and steps that Dr. Ing can take to

                   bolster it.

                 October 4, 2019: Dr. Ing and Dr. Zandona exchange lengthy emails

                   wherein Dr. Zandona provides specific suggestions to Dr. Ing to

                   address the deficiencies in her dossier and offers words of

                   encouragement.

                 October 2019: Dr. Zandona informs Dr. Ing that she will not endorse

                   Dr. Ing for promotion during the cycle that ends in November 2019

                   because she felt Dr. Ing “had not completed her dossier from 2018 to

                   2019. It did not have enough things that I felt the FAPTC would look

                   at and merit a promotion.”

                 November 13, 2019: Dr. Zandona and Dr. Ing meet and disagree about

                   Dr. Ing’s promotion, with Dr. Ing claiming that she merits it and Dr.

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                    Zandona disagreeing and attempting to outline a plan with Dr. Ing so

                    she can achieve promotion in a subsequent cycle.

                 December 9, 2019: Dr. Zandona sends Dr. Ing a letter in which she

                    states: “While it is true that I was not prepared to support your

                    submission for promotion in November 2019 because l did not feel you

                    had demonstrated a significant development compared to your last

                    submission in the area of Education Leadership, this does not mean that

                    I am against your promotion or that I will not work with you towards a

                    successful submission - as described above, I remain committed to

                    doing so.” JA-336-337 (emphasis supplied).

                 January 7, 2021: Dr. Ing files this lawsuit wherein she alleges, for the

                    very first time, that Dr. Zandona told her during the January 9, 2019

                    meeting that “I am most likely not going to promote you.” Notably Dr.

                    Ing did not make this claim in her charge to the MCAD, which she

                    signed on May 1, 2020. Tufts Add. A-0021.

             The entirety of Dr. Ing’s claim that there is a causal connection between her

       2017 sexual harassment report and Dr. Zandona’s decision not to endorse her for

       promotion in 2019 rests on the recently created allegation that in a group meeting on

       January 9, 2019, Dr. Zandona said “I am most likely not going to promote you.”




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             As explained supra, this allegation is a recently manufactured distortion that

       does not and cannot create a genuine issue of material fact. In evaluating the

       allegation’s lack of credibility, and therefore its inability to concoct a genuine

       dispute of fact, one must consider the following:

                1. Dr. Ing’s contemporaneous email stating that Dr. Zandona told her

                    merely that she “may not write a positive letter of support like Dr.

                    Rankin did.” (emphasis supplied)

                2. Dr. Zandona spent months during the course of 2019 working with Dr.

                    Ing to address the deficiencies with her dossier identified by the FAPTC

                    and consistently offered specific advice to Dr. Ing on how to do so. (As

                    mentioned supra, Dr. Rankin was not aware of these deficiencies when

                    he chose to endorse Dr. Ing for promotion consideration.) It defies

                    logic and common sense that Dr. Zandona would spend all of this time

                    working with Dr. Ing for any reason other than a commitment to an

                    independent evaluation and furtherance of Dr. Ing’s promotion

                    candidacy.

                3. Dr. Zandona, throughout 2019, repeatedly stated to Dr. Ing that she

                    wanted Dr. Ing to be promoted once she had addressed the inadequacies

                    in her candidacy. Again, common sense defies saying that, let alone

                    putting it in writing, if Dr. Zandona did not actually want to see Dr. Ing


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                    obtain her promotion once she had sufficiently strengthened her dossier

                    to address the deficiencies identified by the FAPTC.

                4. Dr. Zandona denies making this alleged remark and the other three

                    attendees at the meeting where it was allegedly made do not recall it.

                5. When Dr. Ing first alleged that Dr. Zandona retaliated against her in the

                    MCAD charge, Dr. Ing did not include this statement, but rather,

                    alleged it for the first time in her complaint in this case.

             “The evidence illustrating the factual controversy cannot be conjectural or

       problematic; it must have substance in the sense that it limns differing versions of

       the truth which a factfinder must resolve.” See Mack v. Great Atl. & Pac. Tea Co.,

       871 F.2d 179, 181 (1st Cir. 1989). Here, there is no substance to Dr. Ing’s allegation

       that would “limn[] differing versions of the truth.” Rather, common sense and the

       overwhelming weight of the evidence show that Dr. Zandona did not make the

       alleged remark, spent the better part of 2019 working with Dr. Ing to help improve

       her candidacy, and, when in October 2019 it became apparent that Dr. Ing failed

       and/or refused to make sufficient improvement by the impending deadline, told Dr.

       Ing that she would not endorse her at that time for that promotion cycle.

             Simply put, there is no causal connection between Dr. Ing’s 2017 report of

       sexual harassment and Dr. Zandona’s decision not to endorse her for promotion in

       2019. Accordingly, Dr. Ing cannot make a prima facie case of retaliation.


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                      2.   Dr. Ing Cannot Show that Dr. Zandona’s Stated Reasons for her
                           Actions were Pretextual.

             There is no evidence supporting the contention that Dr. Zandona’s stated

       reasons for her actions were pretext for retaliation. As explained supra, Dr. Zandona

       determined that Dr. Ing was not ready for promotion based solely on the merits of

       her dossier.

       II.   The Denial of the Motion to Alter Should be Affirmed

             After the District Court granted Tufts summary judgment, Dr. Ing filed a

       motion to alter that judgment on the spurious grounds that the District Court

       allegedly ignored the fact that Dr. Zandona had not reviewed Dr. Ing’s qualifications

       at the time of the January 9, 2019 meeting.16 According to Dr. Ing, this fact proved

       that Dr. Zandona’s alleged remark of “I am most likely not going to promote you”

       to Dr. Ing was retaliatory because Dr. Ing had told Dr. Zandona that she (Dr. Ing)

       was opposed to sexual harassment. As set forth supra and as the District Court

       reasoned, Dr. Ing’s efforts to manufacture a disputed fact out of a belated, illogical

       and contemporaneously contradicted allegation cannot succeed. In the words of the

       District Court, “Dr. Ing’s contention that the court should have placed greater weight

       on one fact relevant to the [alleged] statement’s import does not meet the standard



       16
         As the District Court pointed out in its Summary Judgment opinion, and its order
       denying the motion to alter the judgment, it did not “ignore” this “fact.” JA-500-
       502.
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       for alteration of judgment.” JA-502. Accordingly, Dr. Ing’s motion to alter the

       judgment not only falls well short of meeting the “extraordinary” standard needed

       to alter a final judgment, it fails to follow any standard of logic or reason. See Palmer

       v. Champion Mortg., 465 F.3d 24, 30 (1st Cir. 2006). The District Court’s denial of

       the motion to alter should be affirmed.

                                          CONCLUSION

             The District Court’s grant of summary judgment and denial of the motion to

       alter that judgment should be affirmed in their entireties.




                                                 TUFTS UNIVERSITY

                                                 By its attorneys,



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       Dated: May 3, 2023
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                            CERTIFICATE OF COMPLIANCE

             In accordance with Fed. R. App. P.. 32(g), I hereby certify:

          1. This document complies with the word limit of Fed. R. App. P. 32(7)(B)(i)
             because, excluding the parts of the document exempted by Fed. R. App. P.
             32(f), it contains 12,015 words, according to the word count feature on
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          2. This document complies with the typeface requirements of Fed. R. App. P.
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             Microsoft Word’s Times New Roman font in size 14.

                                             s/ Douglas R. Sweeney
                                             Douglas R. Sweeney
                                             Attorney for Tufts University




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                                CERTIFICATE OF SERVICE

             I, Douglas R. Sweeney, hereby certify that this document filed through the
       ECF system will be sent electronically to the registered participants as identified on
       the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated
       as non-registered participants on this 3rd day of May, 2023.

                                              /s/ Douglas R. Sweeney
                                              Douglas R. Sweeney
                                              Attorney for Tufts University




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                                         No. 23-1030



                            United States Court of Appeals For
                                     the First Circuit


                                        MELISSA ING,

                                     Plaintiff – Appellant,
                                               v.
                                   TUFTS UNIVERSITY,
                                    Defendant – Appellee.


                              On Appeal from a Judgment of the
                 United States District Court for the District of Massachusetts

       __________________________________________________________________

                      ADDENDUM OF DEFENDANT-APPELLEE
                             TUFTS UNIVERSITY


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       Declaration of Douglas R. Sweeney in Support of Tufts University’s Reply in
       Support of its Motion for Summary Judgment……………………………….A-003

       Charge of Discrimination Filed by Melissa Ing with the Massachusetts
       Commission Against Discrimination, dated May 1, 2020……………………A-015




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                                         UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MASSACHUSETTS


           MELISSA ING,

                             Plaintiff,
                                                                       CIVIL ACTION NO: 1:21-CV-10032-RGS
           v.

           TUFTS UNIVERSITY,

                             Defendant.



                                     DECLARATION OF DOUGLAS R. SWEENEY


                  I, Douglas R. Sweeney, declare as follows:

                  1.       I am a member of the bar of the Commonwealth of Massachusetts and an

       associate with Holland & Knight LLP, 10 St. James Avenue, Boston, MA, 02116, attorneys for

       defendant Tufts University1 (“Tufts” or the “University”).

                  2.       I make this declaration in support of Tufts’ Reply in Support of its Motion for

       Summary Judgment. The below factual statements are true and accurate to the best of my

       knowledge, information and belief, and the attachments hereto are true and correct copies of the

       following documents (after redacting sensitive and personal information about third-parties not

       relevant to this lawsuit):

                  3.       On multiple occasions, including April 6, 2022, and August 11, 2022, I had

       telephone conversations with Mitchell J. Notis, the counsel for Plaintiff, wherein I explained to

       him that minutes for the FAPTC did not exist for the time that Dr. Carole Ann Palmer was the

       chair of the Tufts University School of Dental Medicine (“TUSDM”) Faculty Appointment



       1
           The correct legal name for Tufts University is the Trustees of Tufts College.

                                                                   1
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       Promotion and Tenure Committee (“FAPTC”) (i.e., from at least January 2018 through July

       2018). This explanation was based on my own personal review of TUSDM records and

       discussions with relevant record-keepers.

              4.     Tab 1 contains excerpts of the deposition transcript of Dr. Carroll Ann Trotman,

       wherein counsel for Plaintiff asked Dr. Trotman, “Do you know for a fact that minutes were kept

       at the [FAPTC] meetings in 2018,” and Dr. Trotman responded, “I don’t know for a fact.”

              5.     Tab 2 contains minutes from TUSDM FAPTC meetings of October 23, 2018 and

       October 30, 2018 (i.e., when Dr. Maria Papageorge was the chair of the FAPTC); these minutes

       do not contain detailed reconstructions of the FAPTC’s discussion of a promotion applicant’s

       candidacy. (TUFTS_0002997-2998)

              6.     Tab 3 contains the handwritten notes of FAPTC member Dr. Bjorn Steffensen

       concerning the FAPTC’s discussion of Plaintiff’s promotion candidacy and dated March 27,

       2018; these notes do not mention Plaintiff’s gender or sexual harassment complaint, but do

       contain the word “unqualified.” (TUFTS_0003997-3998)

              I declare under the penalty of perjury that the foregoing is true and correct

              Executed on August 26, 2022.

                                                    /s/ Douglas R. Sweeney
                                                    Douglas R. Sweeney (BBO No. 694319)
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                                                        2
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                                        CERTIFICATE OF SERVICE

               I, Douglas R. Sweeney, hereby certify that on August 26, 2022, a true and correct copy of
       this document was served on Plaintiff’s counsel of record by e-mail and through the ECF filing
       system.


                                                   /s/ Douglas R. Sweeney
                                                   Douglas R. Sweeney




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                                   Tab 1




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                                                                                 Page 1
                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

                                    CIVIL ACTION NO: 1:21-CV-10032-RGS




                ------------------------------
                                                    )
                MELISSA ING,                        )
                           Plaintiff,               )
                                                    )
                              vs.                   )
                                                    )
                TUFTS UNIVERSITY,                   )
                           Defendant.               )
                                                    )
                ------------------------------


                   ZOOM DEPOSITION OF CARROLL A. TROTMAN, taken

                before June Poirier, Shorthand Reporter and Notary

                Public, on Monday, April 11, 2022,

                commencing at 10:05 a.m.




                             Dunn Reporting Services, Inc.
                                      617-422-0005
                                          A-007
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                                                                                         (Pages 22 to 25)
                                                   Page 22                                                 Page 23
         1      process. And it was the chair and the              1     Q. Why you would you presume that?
         2      candidate who compiled the portfolio and the       2     A. It is my understanding that Monika
         3      submission was made by the candidate.              3     Bankowski kept minutes of the meetings.
         4      Q. Dr. Trotman, if they have the presentation      4     Q. Do you recall ever seeing minutes of the
         5      and preparation is done and they look to you       5     2018 meetings?
         6      and say gee, Dr. Trotman, who do we do now, are    6     A. I could have. I don't recall the specific
         7      you going to tell them they have to vote or are    7     date.
         8      you going to tell them something else?             8     Q. At some point did you learn that Dr. Ing
         9      A. I wasn't required to tell them anything.        9     had filed claims, internally claims of sexual
        10      Q. What did you do?                               10     harassment against Rolly Vanaria?
        11      A. I was there to clarify any questions they      11     A. At some point I learned that, yes.
        12      had about the candidate if I happened to meet     12     Q. When did you learn that, Doctor?
        13      with the candidate and the chair of the           13     A. After -- jeez, I would say fairly
        14      department. The questions that I -- basically     14     recently.
        15      that's why I was there. I am not the chair of     15     Q. What does that mean?
        16      the promotion and tenure committee.               16     A. When this process started.
        17      Q. I know that, you said had that a few           17     Q. Which process?
        18      times, I understand. You said minutes were        18     A. I guess this -- the process that leads me
        19      kept; is that correct?                            19     to be sitting here.
        20      A. That's my understanding, yes.                  20     Q. The lawsuit?
        21      Q. Do you know for a fact that minutes were       21     A. Yes.
        22      kept at the meetings in 2018?                     22     Q. When you were sitting on the promotions
        23      A. I don't know for a fact. I would presume       23     committee in 2018 as a nonvoting member and
        24      that they were kept.                              24     when you were not chair of that committee did


                                                   Page 24                                                 Page 25
         1      you know about the sexual harassment charges at    1     about a specific meeting and I have no
         2      that point?                                        2     information in front of me about that and I
         3      A. No.                                             3     can't remember, it was back. But I do not
         4      Q. You had no knowledge of them at all?            4     recall any mention of that name in any meeting
         5      A. No.                                             5     that I was in.
         6      Q. Do you know if any of the members of the        6     Q. Do you recall any mention in the March 27,
         7      committee, the voting members including the        7     2018 meeting of Dr. Ing having filed claims of
         8      chair had any knowledge of the sexual              8     sexual harassment?
         9      harassment claims?                                 9     A. No.
        10      A. No idea.                                       10     Q. Do you recall any mention of that in the
        11      Q. Did anyone tell you about them before the      11     April 3rd, 2018 meeting?
        12      meeting?                                          12     A. No.
        13      A. No.                                            13     Q. Do you recall in either of those meetings
        14      Q. Did anyone discuss them during the             14     any hostility toward Dr. Ing being expressed?
        15      meeting?                                          15     A. No.
        16      A. No.                                            16     Q. Do you recall anything favorable being
        17      Q. So in the March 27, 2018 meeting at which      17     said about Dr. Ing in those two meetings?
        18      Dr. Ing's promotion was discussed, was there      18     A. You know, in the context of her portfolio
        19      any reference to Dr. Vanaria?                     19     which was the discussion, the areas of
        20      A. I have no idea. I have no idea. In other       20     strengths, and I can't remember, right, but...
        21      words, I don't recall any reference in any        21     Q. Is it fair to say you don't remember a
        22      meeting to anybody by that name.                  22     whole lot about these two meetings?
        23      Q. Okay.                                          23     A. I suppose.
        24      A. In any promotion meeting. You're asking        24     Q. I'm asking you yes or no, Doctor.



                                                                                                                     7
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                                  Tab 2




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                                        Tab 3




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            CONTINUATION PAGE TO CHARGE OF DISCRIMINATION

            My name is Melissa Ing. I am female . I am employed by the Tufts School of Dental
            Medicine ("Tufts") . I am a dentist and I currently hold the position of Associate
            Professor. During my employment, I have been subjected to sexual harassment,
            retaliation for complaining of sexual -harassment, and gender discrimination. The actions
            of Tufts and the actions of my managers and supervisors for which Tufts is responsible,
            are in violation of M.G.L. c.151B and 42 U.S .C. section 2000e.

            The facts of this matter are set forth below .

            I graduated from Tufts Dental School in 1989. While in denta.l school l was ont:: of six
            people chosen as student teaching faculty members. I knew even then that my career
            would always be in dental education. I am totally dedicated to the profession, and to
            education. My CV clearly states this .


            I have been teaching dentistry since 1992. I have won numerous teaching awards
            including the Kaiser-Permanente award for Teaching Excellence, twice, from the
            University of Connecticut School of Dental Medicine, where I continued my teaching
            career. I have had numerous teaching award nominations from both the University of
            Connecticut and from Tufts, including the Tuns Teaching with Technology award and
            Tufts Distinction Awards, and have been inducted into the Tufts Robert Andrews
            Research Society for promoting research. I was nominated for Tufts Sesquicentennial
            Award for service to the i}1:Stitut1on. In addition, I was nominated for the 2020 National
            Science Board Public Service Award and I was nominated for the national 2020
            Presidential Award for Science, Math, and Engineering Mentoring.

            I won the very prestigious national Award for Teaching Excellence given by the
            American Dental Education Association and Colgate Palmolive in 2015. I have lectmed
            locally, nationally, and internationally; many ofmy abstracts·, manuscripts, a book
            chapter~ online articles, an international webinar, and international podcasts have been
            published. I am a recognized authority, both nationally and internationally in my areas of
            expertise. I haxe been in leadership roles within Tufts, with stalewide projects, and I hold
            several national leadership roles.

            I started working for Tufts in June 2011. While at Tufts, I had to endure inappropriate
            and embarrassing comments and gestures from a colleague, Dr. Roland Vanaria. Dr.
            Vanaria is approximately 16 years older than! am. These actions by Dr. Vanaria resulted
            in me being subjected to a sexually harassing environment.

            The inappropriate conduct related to Dr. Vanaria increased in early 201 7.

           Tn late January 2017, my direct supervisor, Dr. Peter Arsenault, informed me that Dr.
           Vanaria wanted to ask me out. I told Dr. Arsenault that I was not interested. ln early
           February, Dr. Vanaria did indeed ask me out, to which I politely declined.




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            CONTINUATION PAGE TO CHARGE OF DJSCRIMINATION

            1n early March 2017., Dr.Vanaria entered my office uninvited, and propositioned me,
            asking me to "have monkey business'' with him. I was nervous, felt trapped by myself in
            the office and I finally got him to leave. For many months after that, Dr. Vanaria would
            wait uninvited in the conference room connected to my otTice for me to finish my clinic
            duties in the evening.

            Essentially, Dr. Vanaria was "stalking" me, even after I complained to Dr.
            Arsenault and asked if Dr. Vanaria could be moved down to his own office on the 2 nd
            floor and not allowed to the office space/adjoining conference area.

            Among other inappropriate behaviors, Dr. Vanaria would regularly leer at me and stare at
            my legs-and chest, would state things to me such as "come on, lift up your lab coat;' he
            would comment on how he liked my "boots and nylons," and he would slap his thigh and
            say "come on Hon, why don't you sit on my lap?" He also continued his stalking
            behavior after evening clinic.

            I complained to my supervisor, Dr. Arsenault multiple times about this harassing
            behavior. I did my best to avoid Dr. Vanaria.

            In June 2017, 1 emailed Dr. Arsenault and asked him to please fix this problem with Dr.
            Vanaria once and for all. The next day Dr. Arsenault told me "I wish that you did not put
            this in writing because I now need to report this."

            In mid-June 2017, the Tufts OEO office commenced a severely flawed investigation of
            these matters. I fully disclosed the facts of the harassment.

            Throughout the ''investigation," my concerns were minimized, Twas essentially blamed
            for complaining of Dr. Vanaria's conduct, and I was made to feel that I had done
            something wrong by my complaint.

            By September 2017 Dr. Vanaria had not been removed from the premises, and was still
            stalking me in my oflice area. To this day, J am not aware of the extent if at all, that Dr.
            Vanaria was disciplined for his inappropriate conduct.

           I explained mul.tiple times to OEO that I was worried about retaliation and asked that Dr.
           Vanaria be moved quietly to a second floor office (a different floor), to save both of us
           any embarrassment. Instead ofresolution, bullying of me ensued. The bullying and
           erroneous gossiping continued and became worse when Dr. Vanaria was dismissed from
           the school in July 2018, for reasons having nothing to do with my shuation.

           On November 15, 2017 the "investigator" yelled at me on the phone, and accused me of
           bringing up my complaint only because of "Harvey Weinstein and the Me 2 movement."
           The investigator also accused me of only bringing up my complaint, because I had found
           out that another female faculty member had previously left the school after reporting her
           own problems with Dr. Vanaria, and receiving no help.


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            CONTINUATION PAGE TO CHARGE OF DISCRIMINATION

            I was denied promotion to full profossor in 2018 (for which I was and am fully qualified),
            and I was denied promotion in two more promotion cycles after that in 2019.

            There were two promotion cycles in 2019, with the second deadline being mid November
            2019.

            During 2018 and 2019, the criteria for promotion which were supposedly being given
            most emphasis in considering my application, were consistently being changed by Tufts
            Dental School faculty, and specifically by my ne,vly replaced chair, Dr. Zandona, in the
            middle of my request to reapply for promotion.

            Additionally, I was criticized for not having adequate qualifications in certain of the
            promotion criteria areas, which were actually areas in which I excelled. Furthermore,
            there were specific areas that Dr. Zandona requested I demonstrate, which I did, even
            before being requested to do so. Once these were demonstrated, different criteria were
            added and the previous criteria negated. Despite this, my colleagues were not held to
            these sa.rne criteria, and were promoted. My qualifications far exceeded those of my
            male peers who were promoted during the course of 2018 and 2019.

            During March 2019 l was told by Dr. Zandona to hold off any talk of promotions until
            July 2019. Vv'hen 1 met with Dr. Zandona on July 18,2019 she asked why I was meeting
            with her, and I yvas i11formed by her that the guidelines for promotion changed on July 1,
            2019. In August 2019, I was surprised when Dr. Zandona told me that I should add to a
            narrative about myself which I had prepared (at the suggestion of Dean Karimbux in
            relation to trying to get promoted), a description of all of my weaknesses. I did not
            understand why she would want me to list supposed weaknesses in a paper designed to
            help me get promoted.

            I was falsely told by Dr. Zandona that I did not have certain qualifications, when l
            absolutely did have them. The objectives I was told by Dr. Zandona that I would need to
            accomplish being promoted, were constantly being changed and made more onerous.
            What became extremely clear through this "shell game," was that no matter how
            qualified I was, and no matter how favorably I rated when compared to my peers, I would
            never be promoted.

            During 2019, including the November 2019 promotion cycle, one of the requirements for
            promotion to full professor (the promotion which 1 sought) was that one's department
            ch.air had to provide a letter of endorsement for promotion for the individual seeking
            promotion. Without the department chair's endorsement, no promotion to full professor
            would occur. I note that in 2018, the person ,vho was then the department chair, Dr.
            Charles "Chuck'' Rankin, had endorsed me for promotion to full professor. Dr. Rankin
            has worked with me since 2011 when I moved to Tufts.

            During the 2019 promotion cycles, Dr. Zandona had just been named the department
            chairperson. ·


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            In October, 2019 in the course of conversation, Dr. Zandona stated to me that she would
            not endorse me for promotion.

            "Vllith the November promotion cycle coming up and the chairperson's letter of
            endorsement due by November 15, 2019, Dr. Zandona called a meeting on November 13,
            2019. Present at the meeting were Dr. Zandona, myself and Dr. Peter Arsenault. Dr.
            Zandona stated to me that l ;;needed a lot of improvement", which ·was a false statement.

            I asked her what she meant, and in the course of her speaking with me during this
            meeting, Dr. Zandona said that she would not be endorsing me for promotion for this
            promotion cycle.

            I did not understand why Dr. Zandona called yet another meeting if the promotion cycle
            would not be until November 2020. She had already told me in October, 2019 that she
            would not be en·dorsing me for promotion. Without Dr. Zandona' s endorsement of me
            for promotion, it was not possible for me to be promoted to full professor in that
            promotion cycle.

            At a later point in this conversation, I said to Dr. Zandona that I did not believe she was
            ever going to write me a letter of endorsement for promotion. Dr. Za.ndona did not
            respond when I made this statement.

            With regard to one of the promotion criteria, Dr. Zanclona told me that I had to ''start
            from ground zero" as far as the other Area of Teaching Excellence which supposedly was
            not problematic. Dr. Zandona told me that my 2015 national Teaching Excellence Award
            "was old". I asked her-what that meant since I only got to Tufts in 2011, and that this
            award applies to this promotion cycle.

           Or. Zandona said that I ''do not have an area of focus" which she claimed that I needed
           for promotion. This was not true. She told me in the winter to focus on celiac disease,
           which I was already researching before her arrival, After demonstrating over 12 celiac
           projects/national and international lectures/manuscripts/webinar she told me during the
           November meeting that my celiac manuscript "is not peer revi_e wed."

           The Guidelines do not say that I need to publish to be promoted, yet lam far more
           prolific in publications than the others combined. Furthermore, when I pointed out that
           my next celiac research would be done with Harvard Medical School, Massachusetts
           General Hospital, and Boston Children's Hospital Dr. Zandona said "but you do not
           know how to do that type of research," when I had already been in the middle of my
           research proposal.

           Dr. Zandona told me that in order to be promoted (since I was applying under
           Educational Leadership) that I must write papers about '"education." I turned to Dr.
           Arsenault and asked if he had written anything about education? He did not answer.



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            CONTINUATION PAGE TO CHARGE OF DISCRIMINATION

            I asked Dr. Zandona if Dr. Harold had written anything about education for his
            application to full professor, and she did not answer. I said I did not thi.nk so.
            I then said, "Well guess what, I did write several papers about educational research and
            on dental education even though that is not a requirement and you are making stuff up."
            Dr. Zandona's answer was: "But it was not peer reviewed."

            Dr. Zandona then said that I did not show leadership, which was also false.

            Dr. Zandona then claimed that I am not "international." I reiterated again that I was
            international, many, many times over. I turned to Dr. Arsenault and asked him: "Peter
            are you international?" He did not answer, because he knew that he was not. I asked Dr.
            Zandona if Dr. Harold was international? She did not answer, because she knew that he
            was not. They were and are holding me to a different standard, even though J have given
            many international lectures, podcasts, webinar, and interviews.

            In addition to being given false reasons for non-promotion, and the requirements for a
            promotion being continually shifted, several male peers of mine who were not as
            qualified as I was, and who did not possess the qualifications which I was told I lacked,
            were promoted.·

            I have been ostracized, and I have been improperly denied promotions. l have been
            subjected to a hostile work environment.

            All of this is du~ to my complaints of sexual harassment, and my gender. I also note that
            I made a complaint about improper, unsafe and unprofessional conditions in the Dental
            School clinic stemming from my own exposure to these conditions. I will be pursuing
            those claims in another forum. The wrongful failures to promote me when male
            colleabrues were· receiving promotions also constitutes gender discrimination.

           All of these actions by Tufts violate the federal and state laws prohibiting discrimination
           and retaliation for complaining of sexual harassment. I note that it is my understanding
           that Tufts University has previously been the subject of several legal actions related to
           sexual harassment and/or retaliation for complaining of sexual harassment, as well as a
           separate legal action regarding gender discrimination within the dental school.

           The reason I wa·s treated in the manner set forth above was retaliation against me for
           complaining of sexual harassment, and gender discrimination.

           Tufts is responsible for the discriminatory actions of my managers and supervisors set
           forth above. These actions for whichTufts is responsible, constitute iJlegal
           discrimination against me on the basis of gender, and illegal retaliation , in violation of
           M.G.L. c.151B and42 U.S.C. §2000e.


           The actions of my managers and supervisors toward me as discussed above, for which
           Tufts is responsible, were knowing, intentional and willful.


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            CONTINUATION PAGE TO CHARGE OF DISCRIMINATION


            The actions of my managers and supervisors toward me as discussed above, for which
            Tufts is responsible, have caused me to suffer financial harm, physical harm and illness,
            injury to my career, as well as much emotional pain and suffering. I will continue to
            suffer these injuries into the future.


            l demand that I be awarded damages against Tufts, including monies to compensate me
            for lost back pay, lost front pay, injury to my career, punitive damages, medical expenses,
            emotional pain and suffering, lost benefits, attorneys fees, interest, lost future earning
            capacity, promotion to full professor, and that l be granted any such other and further
            relief that this Commission finds to be. appropriate.



            SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THISX--- DAY OF
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            MAY , 2020.
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